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                                IN THE UNITED STATES DISTRICT COURT
                               FOR THE NORTHERN DISTRICT OF TEXAS

PHARMA FUNDING, LLC.
                                                       Civil Action No. 3:20-CV-01731-N

                  Plaintiff,

-against-

VERDE PHARMACY & MEDICAL SUPPLY, LLC.
and OSARU OKORO

        Defendants.




                 MOTION TO WITHDRAW AS COUNSEL OF RECORD FOR
                DEFENDANTS VERDE PHARMACY LLC AND OSARU OKORO

              COMES NOW, Shayan Elahi, Esq. of the Elahi Law Firm, PLLC. (hereinafter

  “Counsel”) files this Motion to Withdraw as Counsel of Record (herein after “the Motion”) for

  Defendants: VERDE PHARMACY & MEDICAL SUPPLY, LLC. (“Verde Pharmacy”) and

  OSARU OKORO in the above styled matter and as grounds would show the following:

  1.        Due to various irreconcilable differences and potential conflict regarding legal strategy

  between Defendant and his Counsel, Defendant can no longer be represented by Counsel and his

  law firm.

  2.        Despite the best attempts by all parties, they have been unable to resolve these differences

  in opinions as to the appropriate legal strategy.

  3.        Regretfully, the undersigned counsel has no alternative to filing this motion.

       Accordingly, Counsel moves to withdraw.

  4. Counsel has sought authorization of the clients but has not gotten a response as of

       the filing of this Motion.

  5. There are no court dates set in this matter and no scheduling order currently

       pending.
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                             CERTIFICATE OF CONFERENCE

I certify that on September 20, 2021, I emailed the opposing counsels for their position on this
motion and they have not responded to this motion to withdraw, as of time of its filing.




                                             Shayan Elahi, Esquire

WHEREFORE, PREMISIS CONSIDERED Counsel asks this Court to discharge Shayan Elahi,

Esq. as counsel of record for both defendants.


Respectfully submitted,

                                             ELAHI LAW FIRM PLLC




                                             Shayan Elahi, Esquire
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                                             ATTORNEY FOR DEFENDANTS
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                                CERTIFICATE OF SERVICE


I certify that on September 20, 2021 a true and correct copy of the foregoing was served upon all
parties of record by e-service.




                                             Shayan Elahi, Esquire
